Case 1:17-cv-00007-JCN Document 18-7 Filed 07/21/17 Page 1of1 PagelD#: 71

MAINE vorca REGIS TRATION APPLICATION AFFILIATION ,
Federally required questions: rise eerton mis be completed.
& Are you a citizen of the United States of America? es C)NO |) Green independent

YES C2NO/() Libertarian
C} Republican
(J Unenroiled (no party choice)

¥ Will you be 18 years of age on or before Election Day?

If you checked “no” in response to elther of these questions, do not
complete this form. You must be a U.S. citizen in order to vote.

LAST NAME FIRSTNAMNE > MIDDLE NAME | DATE OF BIRTH
f YYY
CURRENT RESIDENCE ADDRESS (Physical address where you mm
STREET, CITY, TOWN, PLANTATION OR TOWN6HIP
 frugusta
CURRENT MAILINGADDRESS (Complete if different from above address)
STREET NAME AND NUMBER, OR P.O. BOX, ete. CITY/TOWN P CODE,
87 CUShing RA (WLP) OUsb4
Have you previously been registered to vote? Wes Ono TELEPHONE
If the answer is “yes” provide address of previous registration below. (Optional)
CITY/TOWN COUNTY STATE

COMPLETE BOTH SIDES OF THIS CARD - PLEASE PRINT

